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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                               NO. 3:21-CR-00046-N

TAMMY WALDEN THOMAS

                       MOTION TO UNSEAL INDICTMENT

       The United States of America, by and through the undersigned Assistant United

States Attorney for the Northern District of Texas, respectfully moves this Court to

unseal the Indictment in the above-styled case as Tammy Walden Thomas, the

defendant in the above-captioned matter, has been arrested.

       Dated this 9th of February 2021.

                                               PRERAK SHAH
                                               ACTING UNITED STATES ATTORNEY




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